1 U.S. 7
    1 Dall. 7
    1 L.Ed. 13
    Thomas Wallacev.Child and StylesNo.____.
    Supreme Court of Pennsylvania
    April Term, 1763
    
      1
      Suit on a Policy of Insurance. It was set forth in the Declaration that the Vessel sprung a Leak at Sea, and put into Providence, through Necessity. The Master of the Ship was produced by the Plaintiff as a Witness to prove the Bill of Lading, and to give a general Account of the Transactions on board the Vessel and at Providence. His admission was opposed, because the Captain himself had Goods on board which were insured, and the Money was refused to be paid by the Underwriters on his Policy till this Suit was determined, and therefore he was interested. But it was answered, that the Master of the Ship was the only Person who can be supposed capable of giving a full Account of the Matter; and part of the Defence in this Case being, that the Goods insured were innumerated Commodities and therefore not lawful to be shipt from Carolina to Madeira; and the Captain's Goods insured, were not to be landed at Madeira, but at London, therefore the Captain's Insurance could not be affected by any Determination in this Case.
    
    
      2
      The Court ruled, that he should be examined on the Voirdire, and if he said he was disinterested, he should be sworn in chief; which was done, and he was admitted a Witness.
    
    